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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION

 AIR FORCE OFFICER, AIR FORCE NCO,
 AIR FORCE SPECIAL AGENT, and AIR
 FORCE ENGINEER,

                         Plaintiffs,

                 v.                                               Case No. 5:22-cv-00009-TES
 LLOYD J. AUSTIN, III, in his official capacity
 as Secretary of Defense; FRANK KENDALL,
 III, in his official capacity as Secretary of the Air
 Force; and ROBERT I. MILLER, in his official
 capacity as Surgeon General of the Air Force,

                         Defendants.



        DEFENDANTS’ MOTION FOR LEAVE TO FILE CORRECTED BRIEF

        Defendants hereby move the Court to grant leave for Defendants to file a corrected reply brief

in support of Defendants’ motion to dismiss. Defendants filed their reply brief in support of

Defendants’ motion to dismiss on June 15, 2022. Dkt. 107. After filing, Defendants caught a minor

factual error. Specifically, Defendants seek leave to correct the following:

        Regardless, as in Hargay, at least Air Force Officer NCO had even more “advance
        notice” that he would be given the choice of retiring or facing discipline should he
        continue to refuse vaccination if his religious accommodation request was denied.
        Hargray, 57 F.3d at 1569. The Air Force’s policy regarding COVID-19 vaccination
        was made public on December 7, 2021. See Supplemental Coronavirus Disease 2019
        Vaccination Policy (Dec. 7, 2021), https://perma.cc/T4ZQ-3N5G. Air Force NCO
        received his on January 7, 2022, id. ¶ 134, 138, and thus had 31 36 days to consider his
        decision.

Dkt. 107 at 9–10 n.9. The corrected brief will contain only the above alterations.

        Before filing this motion, counsel for Defendants conferred with counsel for Plaintiffs, who

reported that Plaintiffs do not object to the requested relief.



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       For these reasons, Defendants respectfully request that the Court grant leave to file a corrected

reply brief in support of Defendants’ motion to dismiss.



Dated: June 16, 2022                               Respectfully submitted,

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